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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

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                             IN RE: MALLINCKRODT PLC


             Civil Action Nos. 1:21-cv-01093; 1:21-cv-01150; 1:21-cv-01155;
             1:21-cv-01161; 1:21-cv-01271; 1:21-cv-01416; 1:21-cv-01636;
             1:21-cv-01643; 1:21-cv-01746; 1:21-cv-01756; 1:21-cv-01780;
             1:22-cv-00215; 1:22-cv-00216; 1:22-cv-00222; 1:22-cv-00321;
             1:22-cv-00328; 1:22-cv-00330; 1:22-cv-00331; 1:22-cv-00333;
                                     1:22-cv-00337
                                  _________________

                    DESIGNATION OF CIRCUIT JUDGE
             TO HOLD A DISTRICT COURT WITHIN THE CIRCUIT

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       Pursuant to 28 U.S.C. § 291(b), and finding that it is in the public interest to do so,

I hereby designate and assign the Honorable Thomas L. Ambro of the Court of Appeals

for such a period as is necessary for the disposition of the above-entitled matters.

Anticipating that additional appeals will be filed arising out of the Mallinckrodt

bankruptcy matter, Judge Ambro is also designated and assigned to such future related

matters filed in the District of Delaware.



                                                  s/ Michael A. Chagares
                                                  Michael A. Chagares, Chief Judge
                                                  United States Court of Appeals
                                                  For the Third Circuit


Dated: March 29, 2022
